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F|LED IN CLERK'S OFF|CE
U.S.D.C. Atlanlz
NUV l 5 Z[]l?
HMES N. HATfEN, clerk
district court or the UNlTED sTATEs M
DISTRICT OF GEORGIA
Hardee Bey doing business as . ___ {,
HARDEE,BENJAM]I~IO’NEIL § CASENO: l' |'l" 5 V 0 )’£' g ELlQ
corporate sole doing business as §
BENJAM]N HARDEE §
doing business as §
BEN EL BEY §
Counterclajmant

v.
STATE OF GEORGIA et. al

Re: Conditiona.i Acceptance

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§
Counterdefendants §
§
§

l. COMES NOW TI-IE COURT to consider the Reginald B. McClendon, “McClendon”,
and Amber A. Robinson “Robinson”, appearance for the Counterdefendants Atlanta
Municipal Cou.rt, Ryan Shephard, and Raines Carter. The court is additionally
considering the appearance of Patrise Perkins-Hooker, “I-Iooker”, Kaye W. Burwell,
“Burwell”, Asheiy Palmer, “Palmer”, and Jonathan Loegel, “Loegel”, appearing for
Counterdefendants Fuiton County Sheriff’s Office and Theodore Jackson.

2. McClendon, Robinson, Hooker, Burwell, Palmer, and Loegel must first prove jurisdiction
in this court before s/he will be allowed to put papers into this court. SfHe must prove a

relationship to the matter OTHER than acting as counsel. At this point, it appears that

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McClendon, Robinson, Hoolter, Burwell, Palrner, and Loegel’s only reason for trying to
defend the Counterdefendants herein named is to make a profit

. Members of the BAR are granted the title of nobility of “Esquire”, a foreign title of
nobility ranking below knight but above gentlemen.

. Evidence of McC]endon, Robinson, Hooker, Burwell, Palmer, and Loegel’s titles of
nobility being foreign to these united States of America can be found in Article I, Section
9, Clause 8 which States, “No title of nobility shall be granted by the United States.”
AND Articie I, Section 10, Clause l which states, “No State shall. . .. grant any Title of
Nobility." As such, one can ascertain that said title of nobility of Esquire was granted by
a foreign entity outside the jurisdiction of these united states.

. As an Esquirc, McClendon, Robinson, Hooker, Burwell, Palmer, and Loegel hold a
foreign title of mobility and as a member of the foreign corporation BAR, McClendon,
Robinson, Hooker, Burwell, Palmer, and Loegel must give this court a certified copy of
his/her Foreign Agent Registration Act (“FARA") registration before s/he may proceed in
this court of record. A search for McClendon, Robinson, Hooker, Burwell, Pa.lmer, and
Loegel to see if sfhe is registered with FARA yielded no results but if in fact a
registration is in existence, a certified copy of it can be entered into this court as evidence
. It is settled in law that attorneys are mere BAR card carrying members. A BAR card is
not a license to practice law. lt is not like a license to practice medicinc, to be a
chiropractor, to build a house and other licenses. There is no law that states that a BAR
card is equal or lS a license. BAR members are members of a private association much
like the association Sam’s Club that many people are a member of, except that it is a

foreign private association

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McClendon, Robinson, Hooker, Burwell, Palmer, and Loegel must provide a certified
copy of hisfher license to practice law in Georgia, To be clear to McClendon, Robinson,
Hooker, Burwell, Palmer, and Loegel court is not asking for a BAR membership card.

As a member of the corporation State Bar of Georgia, McClendon, Robinson, l~looker,
Burwell, Palmer, and Loegel has no stake in this matter, save that sfhe will make an
income from ‘defending’ the Counterdefendants sfhe purports to appear for.

There is no Legislative Authority for the later-national B.A.R., or the American B.A.R.,
the British Accreditation Registry, to be created. Nor is there authority to work in the
courts, and to monopolize the courts. BAR members issue their own union cards,
deceptiver leading the people to believe they are “Licenses.” lmagine a private
Carpenter’s Union issuing their own licenses. This type of monopoly is against the Taft-
Hartley Act, The Clayton Trust Act, the Sherman Antitrust Act, and the Smith Act. Bar
members are a SELF-APPO[NTED monopoly.

There is the issue that BAR members are only allowed to work in Washington D.C., the
ten square miles of the United States, and its purchased territories. The United States
holds four territories: American Sarnoa and Guarn in the Pacitic Ocean and the U.S.
Virgin Islands in the Caribbean Sea and Puerto Rico. The land mass known as Georgia is
an independent state - not a territory of the United States. McClendon, Robinson,
Hooicer, Burwell, Pa.lmer, and Loegel as members of the BAR cannot represent anyone in

a court of record.

. This is the People’s court of record and it does not have to put up with foreign agents,

attomeys, that have no desire to see real law at work and true justice served. They merely

argue statues that do not apply to the People and have no concept of inherent rights and

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laws. Each of the counterdefendants are harming the claimant and have bullied their way
into a situation they had no business in. They are in dishonor in helping State of Georgia,
a corporation, a non-people, steal private property from a natural private man.

J ust as attorneys can't see real people in their inferior court, so too people can't see
attorneys, foreign agents, in this court of record. Attorneys never deal with the original
laws inherent to man. They argue statutes that serve the corporations interest. No
corporation creates itself. Only man creates. Man can also destroy corporations

Before the court will allow the integrity of this court to deteriorate, McClendon,
Robinson, Hooker, Burwell, Palmer, and Loegel must provide all that is required before
being granted appearance in this court of record. If none of the conditions are met, to wit
producing the required licenses, an affldavit, containing the Statutes at Large for Georgia
which allows BAR members to come into a court of record to appear for
Couuterdel`endants. People must be signed under penalty of perjury before a notary.
Lacking said evidence demanded herein, any and all documents presented to this court by
McClendon, Robinson, Hool<er, Burwell, Palmer, and Loegel will be removed from the
record, since said documents were not authorized to begin with without the above-
mentioned evidence demanded.

The conditions set forth by this court must be adhered to before any additional papers
filed by McClendon, Robinson, Hooker, Burwell, Palmer, and Loegel will be

accepted. This is non-negotiable No notices will be sent to McClendon, Robinson,
Hooker, Burwell, Palmer, and Loegel until s/he proves he is a party to this action as a

Counterdefendant as sfhe cannot be a Counterclaimant.

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WI'I`NESS: The SEAL of the COURT this day of Nnvember, in the year of our Lord
201’?.
Witness the seal of this court this l an of November, 2017.

The food :
By: Hardee Bey
Attornatus Privatus

 

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CERTIFICATE OF SERVICE
I, certify that the true and correct copy of the foregoing document Order of Conditional
Acceptance will served upon by placing it in a sealed envelope First Class Majl Postage prepaid

in the U.S. at Atlanta, Georgia and

State of Georgia
Secretary of State
Brian Kemp

2 MLK Jr. Drivc SE
Suite 802 West Tower
Atlanta, GA 30334

James Bullock, Badge No. 0884
GA State Patrol

959 E. Confederate Ave SE
Atlanta, GA 30316

Fulton County Sheriff’s Ol’fice
Theodore Jackson

135 Central Ave SW

Atlanta, GA 30303

Dated: day of Novernber, 2017

address mail to:

Atlanta Municipal Court
Ryan Shepard

150 Garnett St

Atlanta, GA 30303

Atlanta Municipal Court
Raines Carter

150 Garnett St

Atlanta, GA 30303

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ldf/elec gay

 

